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                               UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

 STEPHANIE STOUT,                                 §
                                                  §
                            Plaintiff,            §
                                                  §
         v.                                       §         Case No. 3:23-cv-00080-DCG
                                                  §
 ACCOUNT RESOLUTION SERVICES                      §
 LLC, CONSUMER ADJUSTMENT                         §
 COMPANY, INC., PARAMOUNT                         §
 RECOVERY SYSTEMS, L.P., EXPERIAN                 §
 INFORMATION SOLUTIONS, INC.,                     §
 EQUIFAX INFORMATION SERVICES                     §
 LLC, and TRANS UNION LLC,                        §
                                                  §
                            Defendants.           §

                DEFENDANT EQUIFAX INFORMATION SERVICES LLC’S
                      ANSWER TO PLAINTIFF’S COMPLAINT

        Defendant Equifax Information Services LLC (“Equifax”), by and through its undersigned

counsel, files its Answer and Defenses to Plaintiff’s Complaint (the “Complaint”) as follows:

                                    PRELIMINARY STATEMENT

        In answering the Complaint, Equifax states that it is responding to allegations on behalf of

itself only, even where the allegations pertain to alleged conduct by all Defendants. Equifax denies

any and all allegations contained in the headings and/or unnumbered paragraphs in the Complaint.

                                            ANSWER

        In response to the specific allegations in the enumerated paragraphs in the Complaint,

Equifax responds as follows:




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                                DISCOVERY CONTROL PLAN

          1.    Equifax states that Rule 500.9 of the Texas Rules of Civil Procedure speaks for

itself. To the extent Plaintiff misstates, misquotes, or takes out of context Rule 500.9 of the Texas

Rules of Civil Procedure, the allegations in Paragraph 1 are denied.

                                   JURISDICTION & VENUE

          2.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 2.

          3.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 3.

          4.    Equifax only admits that it conducts business in the State of Texas.

                                    PARTIES AND SERVICE

          5.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 5.

          6.    Equifax admits that the plaintiff is a consumer as defined by the FCRA.

          7.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 7.

          8.    Equifax states that consumer debt speaks for itself. To the extent Plaintiff

misquotes, misstates, or takes out of context the consumer debt, the allegations in Paragraph 8 are

denied.

          9.    Equifax admits that the plaintiff is a consumer as defined by the FCRA.

Equifax

          10.   Equifax admits that it is a credit reporting agency as defined by the FCRA. Equifax

further admits that it is authorized to do business in the State of Texas.



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        11.      Equifax admits that it is a credit reporting agency as defined by the FCRA and, at

times, it engages in the business of assembling, evaluating, and disbursing consumer reports to

third-parties.

        12.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 12.

Experian

        13.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 13.

        14.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 14.

        15.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 15.

        16.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 16.

Trans Union

        17.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 17.

        18.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 18.

        19.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 19.




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Account Resolution Services

        20.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 20.

        21.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 21.

        22.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 22.

Consumer Adjustment Company

        23.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 23.

        24.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 24.

        25.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 25.

Paramount Recovery Systems

        26.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 26.

        27.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 27.

        28.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 28.

        29.     BLANK




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                                  FACTUAL ALLEGATIONS

        30.     Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        31.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 31.

        32.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 32.

        33.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 33.

                                              Equifax

        34.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 34.

        35.     Equifax states that the reinvestigation speaks for itself. To the extent Plaintiff

misquotes, misstates, or takes out of context the reinvestigation, the allegations in Paragraph 35

are denied.

        36.     Equifax states that the reinvestigation speaks for itself. To the extent Plaintiff

misquotes, misstates, or takes out of context the reinvestigation, the allegations in Paragraph 36

are denied. By further response, Exhibit A speaks for itself.

        37.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 37. By further response, Exhibit A speaks for itself.

        38.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 38. By further response, Exhibit A speaks for itself.

        39.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 39. By further response, Exhibit A speaks for itself.



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        40.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 40. By further response, Exhibit A speaks for itself.

        41.     Equifax states that the ACDV speaks for itself. To the extent Plaintiff misquotes,

misstates, or takes out of context the ACDV, the allegations in Paragraph 41 are denied.

        42.     Equifax states that the ACDV speaks for itself. To the extent Plaintiff misquotes,

misstates, or takes out of context the ACDV, the allegations in Paragraph 42 are denied.

        43.     Equifax states that the reinvestigation speaks for itself. To the extent Plaintiff

misquotes, misstates, or takes out of context the reinvestigation, the allegations in Paragraph 43

are denied. By further response, Exhibit A speaks for itself.

        44.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 44.

        45.     Equifax states that the reinvestigation speaks for itself. To the extent Plaintiff

misquotes, misstates, or takes out of context the reinvestigation, the allegations in Paragraph 45

are denied.

                                             Experian

        46.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 46.

        47.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 47.

        48.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 48.

        49.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 49.



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        50.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 50.

        51.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 51.

        52.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 52.

        53.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 53.

                                            Trans Union

        54.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 54.

        55.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 55.

        56.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 56.

        57.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 57.

        58.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 58.

        59.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 59.

        60.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 60.



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                                              ARS

        61.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 61.

        62.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 62.

        63.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 63.

        64.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 64.

        65.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 65.

        66.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 66.

        67.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 67.

        68.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 68.

        69.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 69.

                                Consumer Adjustment Company

        70.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 70.




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        71.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 71.

        72.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 72.

        73.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 73.

        74.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 74.

        75.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 75.

        76.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 76.

        77.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 77.

        78.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 78.

        79.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 79.

        80.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 80.

                                      Paramount Recovery

        81.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 81.



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        82.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 82.

        83.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 83.

        84.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 84.

        85.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 85.

        86.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 86.

        87.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 87.

        88.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 88.

        89.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 89.

        90.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 90.

        91.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 91.

        92.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 92.




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                                   FIRST CAUSE OF ACTION
                             Willful Violation of § 1681s2-b as to ARS

        93.     Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        94.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 94.

        95.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 95.

        96.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 96.

        97.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 97.

        98.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 98.

        99.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 99.

        100.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 100.

        101.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 101.

                                 SECOND CAUSE OF ACTION
                            Negligent Violation of § 1681s2-b as to ARS

        102.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        103.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 103.



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        104.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 104.

        105.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 105.

        106.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 106.

        107.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 107.

        108.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 108.

        109.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 109.

        110.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 110.

        111.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 111.

        112.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 112.

        113.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 113.

                                 THIRD CAUSE OF ACTION
                            Willful Violation of § 1681s-2b as to CAC

        114.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.




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        115.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 115.

        116.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 116.

        117.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 117.

        118.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 118.

        119.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 119.

        120.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 120.

        121.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 121.

        122.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 122.

        123.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 123.

                                  FOURTH CAUSE OF ACTION
                            Negligent Violation of § 1681s-2b as to CAC

        124.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        125.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 125.




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        126.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 126.

        127.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 127.

        128.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 128.

        129.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 129.

        130.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 130.

        131.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 131.

        132.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 132.

        133.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 133.

        134.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 134.

        135.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 135.

                                     FIFTH CAUSE OF ACTION
                            Willful Violation of § 1681s-2b as to Paramount

        136.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.




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        137.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 137.

        138.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 138.

        139.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 139.

        140.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 140.

        141.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 141.

        142.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 142.

        143.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 143.

        144.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 144.

        145.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 145.

                                  SIXTH CAUSE OF ACTION
                        Negligent Violation of § 1681s-2b as to Paramount

        146.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        147.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 147.




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        148.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 148.

        149.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 149.

        150.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 150.

        151.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 151.

        152.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 152.

        153.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 153.

        154.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 154.

        155.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 155.

        156.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 156.

        157.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 157.

                                    SEVENTH CAUSE OF ACTION
                            Willful Violation of § 1681(i)(b) as to Trans Union

        158.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.




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        159.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 159.

        160.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 160.

        161.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 161.

        162.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 162.

        163.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 163.

        164.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 164.

        165.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 165.

                                    EIGHTH CAUSE OF ACTION
                            Negligent Violation of § 1681(e)(b) as to Experian

        166.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        167.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 167.

        168.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 168.

        169.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 169.




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        170.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 170.

        171.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 171.

        172.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 172.

        173.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 173.

                                    NINTH CAUSE OF ACTION
                            Willful Violation of § 1681(i)(a) as to Experian

        174.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        175.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 175.

        176.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 176.

        177.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 177.

        178.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 178.

        179.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 179.

        180.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 180.




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        181.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 181.

                                    TENTH CAUSE OF ACTION
                            Negligent Violation of § 1681i(a) as to Experian

        182.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        183.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 183.

        184.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 184.

        185.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 185.

        186.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 186.

        187.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 187.

        188.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 188.

                               ELEVENTH CAUSE OF ACTION
                  Willful Violation of § 1681(e)(b) as to Defendant Trans Union

        189.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        190.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 190.

        191.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 191.



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        192.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 192.

        193.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 193.

        194.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 194.

        195.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 195.

        196.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 196.

                               TWELFTH CAUSE OF ACTION
                Negligent Violation of § 1681(e)(b) as to Defendant Trans Union

        197.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        198.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 198.

        199.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 199.

        200.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 200.

        201.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 201.

        202.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 202.




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        203.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 203.

        204.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 204.

                                  THIRTEENTH CAUSE OF ACTION
                            Willful Violation of § 1681(i)(a) as to Trans Union

        205.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        206.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 206.

        207.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 207.

        208.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 208.

        209.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 209.

        210.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 210.

        211.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 211.

        212.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 212.

                             FOURTEENTH CAUSE OF ACTION
                       Negligent Violation of § 1681(i)(a) as to Trans Union

        213.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.



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        214.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 214.

        215.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 215.

        216.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 216.

        217.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 217.

        218.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 218.

        219.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 219.

        220.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 220.

                                 FIFTEENTH CAUSE OF ACTION
                            Willful Violation of § 1681(e)(b) as to Equifax

        221.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        222.    Equifax denies the allegations in Paragraph 222.

        223.    Equifax states that the FCRA speaks for itself. To the extent Plaintiff misstates,

misquotes, or takes out of context the FCRA, the allegations in Paragraph 223 are denied.

        224.    Equifax denies the allegations in Paragraph 224.

        225.    Equifax denies the allegations in Paragraph 225.

        226.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 226.


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        227.    Equifax denies that Plaintiff is entitled to any relief claimed in her Complaint.

        228.    Equifax denies that Plaintiff is entitled to any relief claimed in her Complaint.

                                 SIXTEENTH CAUSE OF ACTION
                            Negligent Violation of § 1681e(b) as to Equifax

        229.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        230.    Equifax denies the allegations in Paragraph 230.

        231.    Equifax states that the FCRA speaks for itself. To the extent Plaintiff misstates,

misquotes, or takes out of context the FCRA, the allegations in Paragraph 231 are denied.

        232.    Equifax denies the allegations in Paragraph 232.

        233.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 233.

        234.    Equifax denies that Plaintiff is entitled to any relief claimed in her Complaint.

        235.    Equifax denies that Plaintiff is entitled to any relief claimed in her Complaint.

                             SEVENTEENTH CAUSE OF ACTION
                            Willful Violation of § 1681(i)(a) as to Equifax

        236.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        237.    Equifax denies the allegations in Paragraph 237.

        238.    Equifax denies the allegations in Paragraph 238.

        239.    Equifax denies the allegations in Paragraph 239.

        240.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 240.

        241.    Equifax denies the allegations in Paragraph 241.

        242.    Equifax denies that Plaintiff is entitled to any relief claimed in her Complaint.

        243.    Equifax denies that Plaintiff is entitled to any relief claimed in her Complaint.



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                                EIGHTEENTH CAUSE OF ACTION
                            Negligent Violation of § 1681(i)(a) as to Equifax

        244.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        245.    Equifax states that the FCRA speaks for itself. To the extent Plaintiff misstates,

misquotes, or takes out of context the FCRA, the allegations in Paragraph 245 are denied.

        246.    Equifax states that the reinvestigation results speak for themselves. To the extent

Plaintiff misstates, misquotes, or takes out of context the reinvestigation results, the allegations in

Paragraph 246 are denied.

        247.    Equifax denies the allegations in 247.

        248.    Equifax denies the allegations in 248.

        249.    Equifax denies the allegations in 249.

        250.    Equifax denies that Plaintiff is entitled to any relief claimed in her Complaint.

        251.    Equifax denies that Plaintiff is entitled to any relief claimed in her Complaint.

                               NINETEENTH CAUSE OF ACTION
                        Violations of the Fair Debt Collection Practices Act
                                15 U.S.C. § 1692 et. seq. as to CAC

        252.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        253.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 253.

        254.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 254.

        255.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 255.

        256.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 256.


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                               TWENTIETH CAUSE OF ACTION
                        Violations of the Fair Debt Collection Practices Act
                             15 U.S.C. § 1692 et. seq. as to Paramount

        257.    Equifax reasserts and re-alleges its responses and defenses as set forth herein.

        258.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 258.

        259.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 259.

        260.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 260.

        261.    Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 261.

                                           PRAYER FOR RELIEF
        262.    Equifax denies that Plaintiff is entitled to any relief sought in the paragraphs

contained in his Prayer for Relief.

        WHEREFORE, having fully answered or otherwise responded to the allegations in

Plaintiff’s Complaint, Equifax prays that:

                (1)         Plaintiff’s Complaint be dismissed in its entirety and with prejudice, with

                            all costs taxed against Plaintiff; and

                (2)         it recover such other and additional relief as the Court deems just and

                            appropriate.




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Dated: March 30, 2023                        Respectfully submitted,


                                             By: /s/ Forrest M. “Teo” Seger III
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                                                   (210) 250-6000
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                                             ATTORNEY FOR DEFENDANT,
                                             EQUIFAX INFORMATION SERVICES LLC



                                CERTIFICATE OF SERVICE

       I hereby certify that on March 30, 2023, a true and correct copy of the foregoing Defendant
Equifax Information Services LLC’s Answer to Plaintiff’s Complaint was electronically filed with
the Clerk of Court using the CM/ECF system, which will send notification of such filing to all
counsel of record.


                                                    /s/ Forrest M. “Teo” Seger III
                                                    Forrest M. “Teo” Seger III




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